              EXHIBIT
                                   A



Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 1 of 16 PageID #: 5
                                                                               $141[ flr TtltiNH*$'HH, Ce]*K[ f;*UNft'
                                                                          i, Krisiy L. N*sse, $lerk'of      {he tirsuit 0outt of
                                                                          gocks hounty, i*nn*s$eo, certity that the foragoing
                                                                          is a lrue capy oi th* *riginal bill filed in this c*use,
                                                                                                   sfficial ceel crf nffic* sn this
                     IN THE CIRCUIT COURT FOR COCKE COtINTqi
                                                                                    dny                                   2*J[*
    ROGER HAWKINS and                                   *
    CHRISTINE HAWKINS,                                  rF


                                                        t
             Plaintiffs,
                                                                DocKEr No.       3\o,24q           -$
                                                                JURY DEMANDED
    MILAN EXPRESS, INC.,           and
    NECHKO ALEKSANDROV,                                                                     CIRCUIT COURT
                                                                                                   FILED
             Defendants.
                                                                                             Dtc    0 ?,2021

                                                                                           KRISTYL. NEASE
                                                 COMPLAINT                              CIRCUITCOURT CLERK
                                                                                             COCKE COUNW, TN


             COME NOW Plaintiffs, Roger Hawkins and Christine Hawkins, and file their complaint,

    and show unto the Court as follows:

            L    Roger Flawkins and Christine Hawkins are married and are members of the public and

   residents of the State of Tennessee.

            2.   Defendant, Milan Express, inc. is a corporation organized in the State of lllinois and

   transacting business in the State ofTennessee on the date at issue.

            3. Milan Express, Inc. can be served, according to the Federal Motor Carrier Safety
   Administration, with a copy           of the complaint and summons through its          registered agent,

   Transcomp Permit        & Fuel Tax Services, LLC, 5901 Shallowford Rd., Suite 104, Chattanooga, TN

   37422.

            4. Milan Express, Inc. is a motor carrier           registered   with U,S.        Department of

   Transportation under DOT number2014&39 and MC number 709622.

            5. Defendant     Nechko Aleksandrov is a residenl of the State of lllinois and can be served

  with a Summons and Complaint at 9448 Kelvin Lane, Apt. 3223, Schiller Park, IL 60176.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 2 of 16 PageID #: 6
           6.     Jurisdiction is proper to this Court pursuant to T.C.A. $ 16-10-101.

           7.     Venue is proper to this Court pursuant to T.C.A. $ 20-4-101.

           8.     Defendant Milan Express, Inc. is an interstate motor carrier based out of Illinois.

           9.     The provisions of 49 CFR $$ 301-399, commonly referred to as the "Federal Motor

   Carrjer Safety Regulations" or "FMCSR" are applicahle to this case and both Milan Express, Inc.

   and Nechko Aleksandrov were subject to and were required to obey these regulations at the time

   of the wreck and at all relevant times prior to the wreck.

           10.    Defendant Milan Express, Inc.      is the owner of the tractor operated by       Nechko

   Aleksandrov, based out of Illinois.

           I 1.   At the time of the wreck, Defendant Nechko Aleksandrov was an employee                and/or

   agent of defendant Milan Express, Inc.

           12.    At all times relevant hereto, Nechko Aleksandrov was a truck driver f,or defendant

   Milan Express, Inc. and was acting within the scope and course of the business of defendant

   Milan Express,Inc.

           13.    NOT TO BE BEAD TO THE JURY: The Plaintiff alleges that one or more of the

   Defendants is uninsured, or underinsured, and as such invoke their contractual rights with their

   insurance carrier, Safeco Insurance Company        of lllinois (policy number F3395520), who can be

   served through the Tennessee Commissioner             of   Insurance, 500 James Robertson Parkway,

   Nashville, TN 37242-1      13 1.


           14.    At all times relevant hereto, Defendant Milan Express, Inc. was acting by and through

   its employees/agents and are responsible for the acts of those employees and agents pursuant to

   respondeat superior, agency, negligent entrustment, negligent hiring               of an    independent

   contractor, or similar theory of law.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 3 of 16 PageID #: 7
           15.   At all times relevant hereto, the Defendants were acting in a joint enterprise.

                                         STATEMENT ORrACrq

           16.   All   preceding statements   of plaintiffs' complaint are incorporated herein and re-
   alleged as ifexpressly set forth herein.

           17.   On or about December 15, 2AZA, Defendant Nechko Aleksandrov was driving                   a

   tractor-trailer, a commercial motor vehicle, owned by Milan Express, Inc. westbound on Interstate

   40 in Cocke County, Tennessee.

           18. Milan Express, Inc. was a for-hire motor carrier operating a tractor ffailer transporting

   property in interstate commerce on the day of the wreck.

           19. Defendant Nechko Aleksandrov had a duty to maintain the tractor-trailer to ensure the

   safety of citizens on the roads, interstates and highways,

           20. Defendant Nechko Aleksandrov had a duty to inspect the tractor-trailer before driving

   it to ensure the safety of citizens on the roads, interstates and highways.

           21.   At the same time and place, Roger Hawkins was driving westbound on I-40           ahead   of

   Nechko Aleksandrov.

          22. Roger Hawkins was driving a black 'l'oyota 'Iacoma pickup truck at the time of the

   wreck and had slowed due to a trailer that came off another vehicle"

          23. Defendant Nechko Aleksandrov was driving negligently, carelessly, and enatically

   and failed to exercise due care while operating his vehicle.

          24. Defendant Nechko Aleksandrov was driving the tractor trailer in a careless, negligent,

   and dangerous manner.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 4 of 16 PageID #: 8
          25.   As Roger Hawkins was slowing for the obsfacle in   the road, Defendant Nechko

   Aleksandrov failed to timely stop the tractor-trailer and violently smashed into the rear of

   Plaintiffs' vehicle, causing the pictured damage.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 5 of 16 PageID #: 9
Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 6 of 16 PageID #: 10
            26. Defendant Nechko Aleksandrov negligsnt and careless driving caused a wreck with

    Roger Hawkins's vehicle and forced Roger Hawkins's vehicle off the road.

            27. The tractor-trailer being operated by Defendant Nechko Aleksandrov had improperly

    maintained brakes at the time of the wreck, which Defrndants Milan Express, Inc. and Nechko

    Aleksandrov knew, or should have known of prior to the wreck.

            28. The wreck was caused by the negligence of the defendants and the careless driving          of
    Defendant Nechko Aleksandrov.

           29. No act of Roger Hawkins was a cause of the wreck.

           30. No failure to act by Roger Flawkins was a cause of the wreck.

           31 .   Roger Hawkins was severely injured as a result of the wreck.

           32. The negligence, and gross negligence, of Milan Express, Inc, and Nechko Aleksandrov

   individually, or combined and concurring with the negligence of each other, were the legal and

   proximate cause of the damages to Roger Hawkins for which Roger Hawkins is entitled to receive

   restitution for the past, present and future economic and non-economic damages to the extent

   allowed by law.


                        COUNT I _ NEGLIGENCE OF MILAN EXPRESS. INC.:
                         NEGLIGENT HIRING. TRAINING. NNTRUSTMENT.
                         SUPERVISTON. RSTENTION. AND MAINTENANCE


           33.   All preceding statements and allegations of the complaint         are incorporated and

   realleged as ifexpressly set forth herein.

           34, Regardless    of the employment relationship,    Defendant Milan Express, Inc.        is   the

   registered owner    of DOT number 2014839       and MC number 7A9622, displayed on the kactor

   involved in this wreck and is therefore responsible for the acts of the driver of that vehicle.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 7 of 16 PageID #: 11
           35.   At all times relevant to this   cause   of action, Defendants Milan Express, Inc.   and

   Nechko Aleksandrov were subject            to and required to obey the minimum        safety standards

   established by the Federal Motor Carrier Safety Regulations (FMCSR) (49 CFR g$ 30j-399),

   either directly or as adopted by the Tennessee Department of Transportation Safety Rules &

   Regulations 1340-6-l-.20 and pursuant to T.c.A.
                                                   $$ 65-2-102 and 65-15-il3.

           36' FMCSR was made to prevent crashes, sush as this crash for members of the nublic

   like PlaintiffHawkins.

          37. The DEfendants      wili be shown at trial to have violated the Federal Motor      Carrier

   Safety Regulations which constitutes negligenceper se, including but not limited to:

                    a. $383         Commercial Driver's License Standards

                    b. $390         General

                    c. $391         Qualifications of Drivers

                    d. $392         Driving of Commercial Motor Vehicles

                    e. $393         Parts and Accessories Necessary for Safe Operation

                    f. 9395         Hours of Service

                    g. $396         Inspections, Repairs, and Maintenances

          38. Milan Express was on notice that its trucks had issues with    brakes as evaluated bv its

  drivers' violations.

          39. Defendant Milan Express, Inc. was required to teach and train Nechko Aleksandrov so

  that he was able to understand and obey the rules and regulations contained in the FMCSR.

         40. Defendant Milan Express, Inc. was negligent, and grossly negligent, in:

                    a.   hiring and/or contracting with Nechko Aleksandrov to drive the tractor-trailer
                    at issue;




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 8 of 16 PageID #: 12
                     b.    training of Nechko Aleksandrov on the FMCSR and Commercial Driver's
                     Manual:

                     c.   failing to supervise Nechko Aleksandrov while driving the tractor-hailer;

                     d. friling   to train Nechko Aleksandrov to properly drive the tractor-trailer;

                     e. failing to train Nechko Aleksandrov to properly inspect the tractor-trailer;
                     f.   failing to train Neshko Aleksandrov to properly maintain the tractor-trailer;

                    g.    entrusting Nechko Aleksandrov with the tractor-trailer;

                    h.    retaining Nechko Aleksandrov to drive the tractor-trailer;

                    i.    failing to conduct proper and required checks on the background of their
                    employee, agent and/or contractor, Nechko Aleksandrov; and

                    j. failure to exercise ordinary care to deterrnine their employees' agents' and/or
                    contractors' fitness for the task of driving a commercial vehicle interstate.

           41. Defendant Milan Express, Inc. had         a duty to promulgate and enforce rules        and

    regulations to ensure its drivers and vehicles were reasonably safe and negligerrtly failed to do so.

           42, Defendant Milan Express, Inc., through its agents and employees, knew, had reason to

   know, or should have known by exercising reasonable care, about the risks set fbrth in this

   complaint and that by simply exercising reasonable care these risks would be reduced or

   eliminated. These risks include. but are not limited to:

                    a.    The risks associated with unsafe drivers,

                    b.    The risks associated with failing to train drivers to obey the FMCSR,

                    c.    The risks associated with failing to train drivers to follow minimum driving

                    standards for commercial drivers,

                    d.    The risks associated with failing to train drivers to follow minimum inspection

                    standards for commercial drivers.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 9 of 16 PageID #: 13
                    e. The risks      associated   with failing to train drjvers to fo-llow        minimum

                    maintenance standards for commercial drivers,

                    f.   The risks associated with failing to have adequate risk management policies

                    and procedures in place,

                    g.   Failing to ensure its routes could be driven within hours-of-service,

                    h.   Requiring drivers to meet unrealistic driving goals which Milan Express, Inc.

                    knewo had reason       to know, or should have known would causE its drivers to

                    violate the hours-of:servi ce re gul ati ons.

                    i.   Failing to have policies and procedures in place to identify undertrained and

                    unqualified drivers.

                   j.    Failure to appropriately implement and enforce risk management policies and

                   procedures to monitor and assess Defendant Nechko Aleksandrov once he was

                   hired.

                   k"    Failing to implement and follow a written safety plan.

                   l.    Failing to protect the members of the public, such as the Plaintifl from the

                   risks described above.

                   m. Failing to use the composite knowledge reasonably available to Milan

                   Express, Inc. to analyze the data available to    it to identify the risk,   take steps to

                   reduce or eliminate the risk, and to protect members of the public from that risk.

                   n.    Failing to appropriately implement and enforce risk management policies and

                   procedures to identify the risks described above,

           43. The negligence of Defendant Milan Express, Inc. was a proximate cause of the injuries

    sustained by Roger Hawkins.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 10 of 16 PageID #: 14
               44. As a result of Defendant Milan Express, Inc.'s actions and inactions Roger Hawkins

    suffered serious injuries affecting his activities of normal daily living.

               45.   The negligence, and gross negligence,       of Milan Express, lnc. individually,        or

    combined and concurring with the negligence of the other defendants, was a legal and proximate

    cause     of the damages to Plaintiffs for which Plaintiffs are entitled to receive restitution for past,

    present and future economic and non-sconomic damages to the extent allowed by law.


                                              CQUNT II
                                 NEGLIGENCE OF NECHKO ALEKSANDROV

              46' AII preceding statements and allegations of the complaint are incorporated herein and

    realleged as ifexpressly set forth herein.

              47    ' At the time of the wteck, defendant Nechko Aleksandrov failed to exercise due care by

   driving the tractor-trailer carelessly and erratically, failing to observe the warnings of road work

   ahead, having faulty brakes, driving          in a reckless manner, improperly following too         close,

   improperly securing the load the truck was canying, disregarding the actual and potential hazards

   then existing, and failing to perform a propsr inspection of the tractor-trailer when he knew. or

   should have known, of the problem with the brakes.

              48.   At all times relevant hereto, Roger Hawkins exercised ordinary     care   in operating his
   vehicle.

              49. The tractor trailer driven   by Defendant Nechko Aleksandrov was driven with            the

   permission and at the direction of Defendant Milan Express, Inc.

            50. Upon information and belief, the tractor trailer drivon           by   Defendant Nechko

   Aleksandrov was driven          in the   course and scope   of his   employment with the business of

   Defendant Milan Express, Inc.




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 11 of 16 PageID #: 15
            51' Regardless of the employment relationship, Milan Express, Inc. is the registered owner

    of DOT number 2014839 and MC number 709622 displayed on the tractor involved in this wreck

    and is therefore responsible for the acts   o;f   the driver of that vehicle.

            52.1n order to put the matter at issue, Plaintiff alieges that Milan Express, Inc. was

    negligent in the maintenance of the tractor-trailer and in the hiring, supervision, training, and

   retention of Defendant Nechko Aleksandrov and is responsible for negligent entrustment of their

   tractor-trailer to his care, and these acts of negligence, combined and concuning with the other

   acts of negligence of the Defendants, proximately resulted in the damagos to the plaintitT.

           53.   At the time and place of this wreck, Defendant Nechko Aieksandrov was generally

   negligent under the circumstances then and there existing in that he:

                     a.   failed to keep his vehicle under control;

                     b.   failed to keep a proper lookout;

                     c.   failed to timely apply his brakes, alter direction of travel, or take any other

                          appropriate action when he, by the exercise ofdue and reasonable care, should

                          have seen the vehicle in front of him;

                    d.    failed to operate his vehicle in a safe and prudent manner in view of the

                          conditions which existed at the time of the wreck;

                    e.    failed to stop with the flow of traffic;

                    f.    failed to keep a safe and reasonable distance between the car he was following

                          and his tractor-ftailer (following too closely);

                    g.    operated his vehicle at an excessive speed;

                    h.    failed to inspect his vehicle in a manner considerate of the safety and lives of

                          the others persons lawfully on the road;




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 12 of 16 PageID #: 16
                     i.    failed to operate his vehicle in a manner considerate of the safety and lives of

                          the other persons lawfully on the road;

                     j.   drove in a reckless manner; and

                     k-   such other actions or inactions that may be shown at a hearing of this cause.

            54' Defendants' negligence proximately caused the wreck with Roger Hawkins' vehicle

    and resulting damages and injuries.

            55' At the time and place of this wreck, the Defendant Nechko Aleksandrov was negligent

   per se in that he was violating one or more of the statutes of the State of Tennessee;
                                                                                          to include but

    not be limited to:

                    a.    T.C.A. g 55-8-124 Following too closely

                    b.    'f.C.A.       55-8-136        Drivers to exercise due care
                                    $

           56. That Defendant Nechko Aleksandrov was subject to the 'oFederal Motor Carrier
                                                                                            Safety

   Regulations" 49 CFR $$ 301-399 either directly, or as adopted by the Tennessee Department
                                                                                             of
   Transportation Safety Rules & Regulations 1340-6-1-.20 and pursuant to T.C.A. gg 65-2-102 and

   65-15-113, at the time and date of the wreck.

           57. The Defendant Nechko Aleksandrov            will be shown at trial to have violated one or
   more   of the Federal Motor Carrier Safety           Regulations which constitutes negligence   per   se,

   including but not limited to:

                    a, $383             Commercial Driver's License Standards

                   b. $390              General

                   c. $391              Qualifications of Drivers

                   d. $392              Driving of Commercial Motor Vehicles

                   e. $393              Parts and Accessories Necessary for Safe Operation




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 13 of 16 PageID #: 17
                         f. $395       Hours of Service

                         g. $396       Inspections, Repairs, and Maintenances

            58. Defendant Nechko Aleksandrov         will be sho'wn at trial to have violated the state and
    Federal Motor Camier Safety Regulations, which constitutes negligenceper se.

            59.   The negligence, and gross negligence,        of   Nechko Aleksandrov individually, or

    combined and concuning with the negligence of the other defendants, was a legal and proxirnate

    cause of the damages to Roger Hawkins for which Roger Hawkins is entitled to receive restitution

    for past, present and future economic and non-economic damages to the extent allowed by law.

                                            COUNT IV      - DAMAGES
            60.   All   preceding statements and allegations of the complaint are incorporated herein and

    realleged as ifexpressly set forth herein.

           61. Christine Hawkins, as a result of the Defbndents' negligence, and statutory violations,

    has suffered a loss in the companionship, society, services, and consortium of one another.

           62. As set forth more      fully in the facts hereinabove,   each   of the Defendants acted in   a

    willful, wanton and reckless manner which either alone, or combined and concurring with              the

    actions of the other defendants' acts of negligence, directly and proximately caused the wreck and

    Roger Hawkins's injuries.

           63. Defrndants knowingly, intentionally recklessly, and/or            willfully   disregarded the

   Federal Motor Carrier Safety Regulations.

           64. Defendants' conduct constituted a conscious disregard for the life and safety of Roger

   Hawkins and for the iives and safety of the motoring public generally, and these defendants are

   therefore liable to Roger Hawkins for exemplary or punitive damages.

            WHEREFORE, Plaintiffs pray that the following relief be granred:




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 14 of 16 PageID #: 18
              A     A trial by jury;

              b.    For Surmons and Complaint to issue against the Defendants;

                    For judgment against the Defendantso to compensate Plaintiffs for their pain and

                    suffering, past, present, and future;

              d.    For judgment against the Defendants, in an amount sufficient to compensate Roger

                    Hawkins for the medical expenses incurred to date, as well as for medical expenses

                    which will be incurred in the future;

                   For judgment against the Defendants           in amount sufficient to   compensate Roger

                   Flawkins for lost wages incurred, including future lost wages or ability to eam

                   income;

                   Such other economic and non-economic losses as may be shown at the hearing of this

                   matter.

          g.       That Plaintiffs obtain judgment against the Defendants in an amount the jury believes

                   to be just, fair and equitable, given the facts and after hearing the issues in this case,

                   not to exceed the sum of $5,000,000 for the damages suffersd by Roger Hawkins and

                   a sum not to exceed $1,000,000.00        for damages suffered by Christine Hawkins.

         h.        For an award of punitive damages against Defendants Milan Express, Inc.               and

                   Nechko Aleksandrov, in an amount the jury believes to be just, fair and equitable,

                   given the facts and after hearing the issues in this case, not to exceed the sum of

                   $5,100,000.                                                                     '



         l.        Court Cost and discretionary Costs.

         j.        For all such further and general relief which this court deems just and proper.



                                                                 Respectfully submitted,




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 15 of 16 PageID #: 19
                                                             lr*l9Market
                                                             CMtanocgn, TN 3fa0e
                                                            4a3-?65-3CI20
                                                            dwy@rckrlmchiuxtine"mm


                                                     AND




                                                                     KBil,tU


                                                            b{ovrpor.t, Tcmomea 37,&22
                                                            (423) 623-3S9t
                                                            rsBtiuistoil@lsolknuth"n$



                                         .gffi[.rcllo
           I, l&lfu$i&R. eq fu r&s{$!gd anofino , rrcr.sey ro*nowlafto myeelf ae ntns ftr
   tho Pldffiffin thii- smsc_fff ffie nrrrmt of wrm GosmN  trxsg whi6h may bo sunmdddif,6fiff
   tho Pl&intiff pursunrt r0 T.C,A.. g g&l2-t 20.




                                                                     R-   B*u,, BPR


                                                            Narporq Tersm*ns 17t22
                                                            (4u3)613-3$9I
                                                            q*@




Case 3:22-cv-00051-CEA-DCP Document 1-1 Filed 02/09/22 Page 16 of 16 PageID #: 20
